                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


PAUL R. CONFORTI,
          Plaintiff,

       v.                                                Case No. 20-C-0349

CITY OF FRANKLIN, et al.,
           Defendants.
______________________________________________________________________

                                 DECISION AND ORDER

       Paul Conforti brings this action under 42 U.S.C. § 1983 and alleges that two City

of Franklin police officers used excessive force during an arrest. The case is set for a jury

trial. This order addresses several of the parties’ motions in limine, including the

defendants’ motion to exclude the testimony of the plaintiff’s police-practices expert,

Roger Clark.

                                    I. BACKGROUND

       On the evening of January 7, 2019, the plaintiff and two friends, Michael Beals and

Randi Slomski, were out socializing when Beals started to choke. The plaintiff and

Slomski were able to remove the obstruction from Beals’ airway and called 911. An

ambulance arrived, and it was decided that Beals should be brought to the hospital. The

plaintiff and Slomski rode in the ambulance with Beals to the hospital.

       At the hospital, the plaintiff and Slomski accompanied Beals into the emergency

department and to an exam room. While he was receiving treatment, Beals became

unruly, and a nurse asked the plaintiff and Slomski to leave the room, which they did.

Hospital staff called the Franklin Police Department and asked for assistance with Beals.

Officers Hernan and Burkee (who are not defendants) were the first to respond to the call



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and went into the exam room to help control Beals. Officers Gary Wallace and Christopher

Rydelski (who are defendants) were also dispatched to the hospital. When they arrived,

Wallace and Rydelski could hear shouting from one of the exam rooms and proceeded

to that area. Hernan and Burkee told Wallace and Rydelski that Beals was being unruly

and had assaulted hospital staff and the officers. In the exam room, Wallace and Rydelski

could see Beals struggling with Hernan and Burkee and heard Beals threatening to kill

officers and hospital staff.

       Meanwhile, in the lobby of the emergency department, the plaintiff had gotten into

an argument with hospital staff. While Wallace and Rydelski were assisting Hernan and

Burkee with Beals, a woman who appeared to be a nurse or other hospital employee

came into the exam room and asked the officers to come to the lobby because the plaintiff

was shouting, using profanities, and threatening a hospital employee. Wallace and

Rydelski went to the lobby to help the employee, but by the time they arrived the

disturbance had ended. Wallace and Rydelski went outside to look for the plaintiff.

       Outside the hospital entrance, the officers saw the plaintiff and approached him.

As they approached, they commanded the plaintiff to remove his hand from his pocket.

The plaintiff asked “why” and turned around to face the officers, but he did not remove his

hand from his pocket. Officer Wallace then grabbed the plaintiff’s left arm and Officer

Rydelski grabbed his right arm. The officers state that they intended to detain the plaintiff

for further investigation. The plaintiff began shouting and became tense. Wallace

removed his TASER from its holster and told the plaintiff that he would be tased if he did

not stop resisting. The parties agree that, once the plaintiff was warned about the TASER,

he stopped resisting and allowed the officers to handcuff him.

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       What happened next is disputed. The plaintiff contends that, once he was

handcuffed and under control, the officers violently forced him towards their squad car

and slammed his face and body against its side. The plaintiff claims that he saw stars,

moved in and out of consciousness, chipped his tooth, lacerated the inside of his mouth,

and lost his glasses. The plaintiff contends that, at this point, the officers threw him face-

first onto the ground and pummeled him with as many as twenty knee strikes and punches

to the head. Eventually, a spit shield was placed on the plaintiff’s head, and the officers

placed him into the back of their squad car. According to the plaintiff, the officers then

pulled him out of the squad car, threw him back on the ground, and continued attacking

him for no reason. Eventually, they brought him to a sidewalk and waited for other officers

to bring a device known as “the wrap” to the scene. This is a device that officers use to

restrain a subject’s legs if the officers think the subject will kick them. Once the wrap

arrived, the officers placed the plaintiff in it, put him in a wheelchair, and brought him back

into the hospital to receive treatment for his wounds.

       The defendants will testify to a different version of events. They contend that, once

the plaintiff was handcuffed, they escorted him towards the squad car with the intent to

place him in the backseat for questioning. Officer Wallace will testify that, when they

arrived at the car, Wallace tried to search the plaintiff for weapons. Wallace contends that,

while he was searching the plaintiff, the plaintiff turned his head towards him and spit

saliva directly onto his face. Once the spitting occurred, the officers decided that they did

not have control of the plaintiff and needed to “decentralize” him, which is a term that

means bringing a subject to the ground. The officers will testify that, once the plaintiff was

on the ground, he continued to try to spit on them and began trying to kick them. Because

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the plaintiff continued to resist, each officer delivered knee strikes to the plaintiff in an

attempt to overcome his resistance. Wallace delivered knee strikes to the plaintiff’s lower

body, and Rydelski delivered them to his rib cage. While this was occurring, Wallace

radioed for backup, and Officer Burkee came outside to assist. Burkee grabbed the

plaintiff’s legs, and at that point the officers had the plaintiff under control. One of the

officers placed the spit shield on the plaintiff’s face. The officers then attempted to place

him in the backseat of the squad car. But as soon as the plaintiff was on the backseat he

rolled to the side and kicked Officer Wallace in the groin or thigh area. A video taken by

a camera inside the squad car shows the plaintiff attempting to kick one of the officers.

One of the officers can be heard grunting immediately after the plaintiff lashes out with

his leg. Concluding that they still did not have the plaintiff under control, the officers

removed him from the vehicle and pinned him on the ground next to the squad car. The

officers then called for a device known as “the wrap,” which is used to wrap a subject’s

legs together to prevent them from kicking. Once the plaintiff was in the wrap, the officers

determined that he was under control. They put the plaintiff in a wheelchair and brought

him inside the hospital for treatment. By this point, the officers had decided to arrest the

plaintiff for resisting arrest and for violating a state law that makes it a felony to discharge

bodily fluids at an officer.

       At trial, the plaintiff will argue that Wallace and Rydelski violated the Fourth

Amendment by using excessive force during the above events. Previously, the plaintiff

had alleged that the arrest itself was unlawful, but the plaintiff has since conceded that

the defendants are entitled to summary judgment on his claim that the officers did not

have reasonable suspicion or probable cause to detain or arrest him. (ECF No. 24 at 23.)

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The plaintiff also conceded that the defendants were entitled to summary judgment on

any claim that the officers used excessive force prior to when he was placed in handcuffs.

(Id.) Thus, the jury in this case will not be asked to assess whether Officers Wallace and

Rydelski violated the Fourth Amendment when they did any of the following: approached

the plaintiff, ordered him to remove his hand from his pocket, grabbed his arms,

threatened to use the TASER on him, and handcuffed him. However, the plaintiff will

argue that the following acts by the officers amounted to excessive force: throwing him

against the squad car, decentralizing him to the ground while he was handcuffed, holding

his face against the concrete, administering knee strikes to his torso, placing him in a spit

hood, and placing him in the wrap. (ECF No. 62 at 12.)

       In support of his claims, the plaintiff intends to introduce expert testimony from a

police-practices expert, Roger Clark. Clark generally opines that the force used by

Wallace and Rydelski was “inconsistent with core policing practices, policies, and training

and constituted the unlawful use of excessive force.” (ECF No. 58-1 at 1.) The defendants

have filed a motion in limine seeking to exclude his testimony. I address this motion, along

with several related motions in limine, below.

                                     II. DISCUSSION

       Federal Rule of Civil Procedure 702 allows a witness who is qualified as an expert

to testify in the form of an opinion or otherwise if: (a) the expert’s specialized knowledge

will help the trier of fact understand the evidence or determine a fact in issue; (b) the

testimony is based on sufficient facts or data; (c) the testimony is the product of reliable

principles and methods, and (d) the expert has reliably applied the principles and methods

to the facts of the case. Besides Rule 702, other rules of evidence are relevant to the

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present motions, including Rules 401 and 402, which govern relevance, and Rule 403,

which provides that relevant evidence may be excluded when its probative value is

substantially outweighed by a danger of one or more of the following: unfair prejudice,

confusing the issues, misleading the jury, undue delay, wasting time, or needlessly

presenting cumulative evidence.

       To evaluate whether Clark’s testimony is admissible, I start by summarizing the

relevant Fourth Amendment principles that the jury will need to apply. The Fourth

Amendment “prohibits law-enforcement officers from using excessive force during an

arrest as a necessary corollary of the Amendment’s prohibition of unreasonable seizures.”

United States v. Brown, 871 F.3d 532, 536 (7th Cir. 2017) (citing Graham v. Connor, 490

U.S. 386, 395 (1989)). When an officer is accused of using excessive force, the decisive

question is whether the officer’s conduct meets the Fourth Amendment’s objective

standard of reasonableness. Id. Objective reasonableness is “not capable of precise

definition or mechanical application.” Id. (quoting Abdullahi v. City of Madison, 423 F.3d

763, 768 (7th Cir. 2005)). Rather it “turns on the facts and circumstances of each

particular case.” Id. (quoting Kingsley v. Hendrickson, 576 U.S. 389, 397 (2015)).

Ultimately, “the officer flunks the test if, in light of the circumstances, he ‘used greater

force than was reasonably necessary to effectuate the seizure.’” Id. (quoting Williams v.

Indiana State Police Dep’t, 797 F.3d 468, 473 (7th Cir. 2015)).

       In the present case, Clark offers two kinds of opinions. The first kind consists of

statements in which Clark generally opines, based on his view of the evidence, that the

force applied by one or both of the defendants was excessive, unreasonable, or

unjustified under the totality of the circumstances. For example, Clark opines that “[u]nder

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the totality of the circumstances, and the de minimis level of threat posed by Mr. Conforti

when he was arrested, there are no facts in the record which would justify the level of

force used by Officers Wallace and Rydelski.” (Clark Report at 12; ECF No. 58-1.)

Another example of this kind of opinion is the following: “I see nothing in this set of facts

that would justify any force beyond simple officer presence and verbal skills during the

encounter.” (Id. at 14.) In the second kind of opinion, Clark opines that the force applied

by one or both of the defendants was contrary to law-enforcement training standards. For

example, after reciting his view of the facts, Clark opines that “[a]ll of this evidence further

confirms that Officer Wallace’s conduct violated core policing standards, practices,

policies, and his trainings.” (Id. at 15.)

       Opinions of the first kind come dangerously close to being inadmissible as pure

legal opinions. Although an opinion is not inadmissible “just because it embraces an

ultimate issue,” Fed. R. Evid. 704(a), an expert is generally prohibited from offering legal

opinions.1 See Jimenez v. City of Chicago, 732 F.3d 710, 721 (7th Cir. 2013). The reason

for this prohibition is that “[i]t is the role of the judge, not an expert witness, to instruct the

jury on the applicable principles of law, and it is the role of the jury to apply those principles

of law to the facts in evidence.” Id. Allowing experts to opine that a particular action was

unlawful “induce[s] the jurors to substitute their own independent conclusions for that of

the experts.” Thompson v. City of Chicago, 472 F.3d 444, 458 (7th Cir. 2006). Such

testimony is therefore inadmissible under Federal Rule of Evidence 403 because it



1 There are some exceptions     to this general rule that apply in cases involving legal
malpractice or patent law, see Jimenez, 732 F.3d at 721 n.7, but no exception applies to
the present case.
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presents a danger that the jury will decide the case on an improper basis rather than on

the evidence presented. Id. at 457–58. In the present case, I will instruct the jury on the

meaning of the Fourth Amendment as applied to excessive-force cases, and it will be for

the jury to determine the facts and decide whether the officers used force that was

objectively unreasonable under the totality of the circumstances. Thus, to the extent Clark

intends to opine that, based on his view of the evidence, the officers used force that was

excessive, objectively unreasonable, unjustified, or unwarranted under the totality of the

circumstances, his testimony is inadmissible.2

       However, it is possible to recast Clark’s legal opinions as opinions about police

policies and training practices. Although Clark frequently expresses his opinions using

Fourth Amendment terminology, the overall thrust of his testimony is that he believes that

the defendants acted contrary to national standards governing police practices. That is,

Clark’s testimony could be understood as being that because the officers acted contrary

to such practices, they violated the Fourth Amendment. The second part of this opinion

(the officers violated the Fourth Amendment) is plainly inadmissible as a legal opinion,

but the first part (the officers acted contrary to well-established police practices) is not. I

will therefore consider whether all of Clark’s opinions (both the first and the second kind)

are admissible as opinions about police policy.

       Turning to that issue, I begin by noting that the Seventh Circuit has identified two

problems that frequently arise when a party seeks to offer expert testimony on police



2 The defendants filed a separate motion in limine to exclude any witness from offering

legal opinions at trial. (ECF No. 45.) For the reasons stated in the text, that motion will be
granted.
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policies and practices in an excessive-force case. The first is that the excessive-force

inquiry is governed by constitutional principles, not police-department regulations, and

therefore the probative value of any testimony about police practices may be slight and

substantially outweighed by the danger of confusion or one of the other concerns

identified in Federal Rule of Evidence 403. See Brown, 871 F.3d at 536–38. The Seventh

Circuit has gone so far as to say that “a police officer’s violation of departmental policy is

‘completely immaterial [on] the question . . . whether a violation of the federal constitution

has been established.’” Id. at 537 (quoting Thompson, 472 F.3d at 454). In the present

case, Clark does not opine that the defendants violated any specific policy of the Franklin

Police Department or the State of Wisconsin. Rather, he opines that the officers violated

what he views as a “national use-of-force standard.” (Clark Dep. at 36:21–36:23; ECF No.

59.) For this reason, I do not think his opinions are excludable on the ground that they are

completely irrelevant to the Fourth Amendment inquiry. See Brown, 871 F.3d at 538

(“Evidence of purely localized police procedure is less likely to be helpful than nationally

or widely used policy.”).3

       The second issue that the Seventh Circuit has identified in connection with expert

testimony on police practices is that such testimony is often not helpful to the trier of fact

and therefore does not satisfy Federal Rule of Evidence 702(a). Brown, 871 F.3d at 537;

Florek v. Vill. of Mundelein, Ill., 649 F.3d 594, 601–03 (7th Cir. 2011). The court has



3 The defendants contend that Clark’s opinions must be excluded because they are not

explicitly based on Wisconsin law-enforcement standards. However, as just discussed,
evidence of localized procedure is less helpful than evidence of national trends. Brown,
871 F.3d at 538. Thus, Clark’s failure to apply specific Wisconsin standards is not a
reason to exclude his testimony.
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observed that, in many excessive-force cases, the question of whether the force used

was objectively unreasonable under the circumstances will not require jurors to

understand matters that are “beyond the ken of an average layperson.” Florek, 649 F.3d

at 602. In such cases, “evaluating an officer’s conduct will draw primarily on the jury’s

collective common sense” and the “everyday experience of lay jurors.” Brown, 871 F.3d

at 538. Expert testimony on police procedure is particularly likely to be unhelpful “when

‘police use[ ] their bare hands in making an arrest, the most primitive form of force.’” Id.

(quoting Florek, 649 F.3d at 602). But this does not mean that all expert testimony on

police practices is unhelpful. Rather, such testimony can be helpful when “specialized

knowledge of law-enforcement custom or training would assist the jury in understanding

the facts or resolving the contested issue.” Id. at 537. This may occur “when ‘something

peculiar about law enforcement (e.g., the tools they use or the circumstances they face)

informs the issues to be decided by the finder of fact.’” Id. at 538. For example, “[i]f a case

involves ‘a gun, a slapjack, mace, or some other tool, . . . the jury may start to ask itself:

what is mace? what is an officer’s training on using a gun? how much damage can a

slapjack do?’” Id. (quoting Kopf v. Skyrm, 993 F.2d 374, 379 (4th Cir. 1993)).

       The present case is not factually complex and, for the most part, does not involve

specialized police tools or other matters outside the understanding of a layperson.

Besides the spit hood and the wrap, the officers used only their bare hands to apply force

to the plaintiff.4 Expert testimony is not required to help the jury understand whether,


4 Before handcuffing the plaintiff, the officers threatened him with a TASER, but        the
plaintiff is not pursuing a claim for excessive force based on the officers’ conduct prior to
the handcuffing. Thus, any expert testimony about use of a TASER would be irrelevant
and inadmissible under Federal Rule of Civil Procedure 402.
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under the totality of the circumstances, the officers acted with objective reasonableness

in throwing the plaintiff’s body against the squad car, decentralizing him to the ground,

and holding his face against the concrete. Although the spit hood and the wrap might be

described as specialized tools, their purposes are easily understood by laypersons: a spit

hood is used to stop a subject from spitting on officers, and the wrap is used to stop a

subject from kicking officers.5 In any event, the plaintiff has not disclosed any admissible

expert testimony by Clark concerning the spit hood or the wrap. To be sure, Clark does

opine that, based on his view of the evidence, the officers did not need to use any force

on the plaintiff after he was handcuffed, and that therefore all the force they used,

including the spit hood and the wrap, was excessive and in violation of core policing

practices. (ECF No. 58-1 at 3, ¶ 17.) But this opinion is not based on the specialized

nature of the spit hood or the wrap; it is based on Clark’s opinion that, because the plaintiff

was under control, the officers should not have used any additional force. Thus, this

testimony would not help the jury better understand either the nature of the spit hood and

the wrap or how officers are trained to use such tools.6



5 The plaintiff has brought a motion in limine to exclude any testimony by the defendants’

police-practices expert, Stephen P. Harlow, about the wrap. Like Clark, Harlow does not
provide any specialized testimony about the wrap that would be helpful to the jury.
Further, the defendants concede that both parties’ expert witnesses should be precluded
from offering testimony about the wrap. (ECF No. 67 at 7–8.) Therefore, I will grant the
plaintiff’s motion in limine on this issue.
6 At his deposition, Clark testified about the nature or the wrap and noted that some

models of wrap pose a risk of asphyxiating the subject because those models compress
the subject’s chest. (Clark Dep. at 30:6–30:18.) However, Clark does not opine that the
specific model that the officers used on the plaintiff presented a risk of asphyxia. Instead,
he testified that, based on the information that he had, “positional asphyxia” was not an
issue in this case. (Id. at 30:6–30:18.) Thus, the plaintiff has not disclosed any testimony
by Clark about the wrap that would be both relevant to his claims and helpful to the jury.
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       Moreover, with one exception discussed below, specialized knowledge is not

required to understand the circumstances that the officers faced during the uses of force

at issue in this case. Regarding the first—throwing the plaintiff’s body against the squad

car—the officers do not contend that it would have been reasonable for them to do that;

instead, they dispute that they used such force. (Rydelski Dep. at 84:15–84:18; Wallace

Dep. at 39:9–39:20.) Thus, any testimony about the training that officers receive about

throwing subjects against cars would be irrelevant and unhelpful.

       Regarding the second use of force—the decentralization—the officers admit that

they brought the plaintiff to the ground after he spit on Officer Wallace. However, Clark

has not disclosed any specialized testimony on the topic of decentralizations. He does

opine that, if the plaintiff spit on the officers, then the officers did not need to use any

additional force and could have just placed him in the back of the squad car. (Clark Report

at 15–16.) However, Clark does not identify any police policy or practice that would govern

this specific situation, i.e., controlling a handcuffed suspect who is spitting at officers.

Rather, he merely asserts that the officer’s conduct was “excessive in relationship to core

policing practices, policies, and trainings.” (Clark Report at 16.) Clark does not identify

those core practices or explain how they should have been implemented under the

specific circumstances the officers faced. Moreover, Clark does not identify any

specialized techniques that the officers could have used to force the plaintiff into the

backseat of the squad car in lieu of decentralizing him. Accordingly, Clark has not

disclosed any testimony about the decentralization that would be helpful to the jury. He

may not offer testimony on that topic.



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       The third use of force—holding the plaintiff’s face against the concrete to prevent

him from continuing to spit at the officers—likewise does not involve specialized police

techniques. Moreover, Clark does not identify any specialized training standards or

policies that might govern this specific situation. Thus, the plaintiff has not disclosed any

relevant, helpful testimony by Clark on this use of force.

       The fourth use of force—knee strikes to the torso—is different. Unlike with his other

opinions, Clark’s testimony on this topic includes a discussion of police policies and

procedures that would be helpful to the jury. In his report, Clark explains that national

training standards7 teach officers that there are four general categories of subject

behavior (cooperative, resistive, combative, and life threatening) and a general range of

appropriate officer responses to each category (ranging from verbal commands to lethal

force). (Clark Report at 13.) At his deposition, Clark gave the opinion that knee strikes are

appropriate only when a subject is engaging in combative or life-threatening behavior.

(Clark Dep. at 56:11–56:24.) He further testified that, under national training standards,

even if the plaintiff was shouting, trying to spit on the officers, and trying to kick the officers

while he was handcuffed on the ground, he would not be considered “combative” such

that knee strikes would be authorized by the standards.8 (Id. at 104:25–108:9.) Clark goes

on to opine that the appropriate response to this behavior under the national standards



7 Clark identifies the training standards as “Peace Operations Specialized Training” or

“POST.” (Clark Report at 14.)
8 Clark did not use the term “combative” in this part of his testimony. Instead, he testified

that the plaintiff was not exhibiting behavior that, under national standards, justified using
knee strikes. But I think it is fair to characterize his testimony as meaning that the
described behavior would be deemed only resistive, not combative, under the national
standards.
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would have been for the two officers to continue pinning the plaintiff to the ground until he

calmed down and stopped resisting. (Id. at 108:11–109:18.) Clark states that, in his

experience, a subject will calm down in less than one minute once he is restrained in this

fashion. (Id. at 109:19–110:9.) All this testimony on knee strikes would be helpful to the

jury because the average layperson will not know how officers are trained to handle

subjects who offer the kind of resistance that, in the officers’ view, the plaintiff exhibited.

The jury might wonder whether officers are trained that they may strike a handcuffed

subject who is restrained but continues to resist the arrest or whether they are trained

that they must continue restraining the subject until he calms down.

       Moreover, Clark’s testimony about knee strikes is not simply a legal opinion that

knee strikes were excessive under the totality of the circumstances. The testimony is

based on national training standards outlining the categories of subject behavior and

appropriate police responses and on Clark’s own experience in dealing with subjects who

resist arrest. Although the training standards mirror the Fourth Amendment’s

reasonableness standard to some extent, that is to be expected, as one of the purposes

of training an officer on the use of force is to ensure that the officer complies with the

Constitution. Experts in police practices are allowed to testify about national training

standards and may even opine that the police acted unreasonably, provided that they do

so in an area involving specialized matters outside the knowledge of an average

layperson. See Florek, 871 F.3d at 538. Here, Clark opines about a particular technique

used in law enforcement—knee strikes—and describes what national training standards

say about when it is appropriate to use that technique. He also explains that, in his

experience, a pinned and restrained subject normally calms down in less than one minute,

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which is something that a layperson is unlikely to know from everyday experience. These

are the kinds of opinions concerning police practices that the cases deem helpful and

otherwise admissible. See Brown, 871 F.3d at 537 (“[I]if it’s standard practice across the

country to train officers to handle a given situation in a particular way, expert testimony

about that training might aid a jury tasked with evaluating the conduct of an officer in that

specific situation.”).

       As discussed in the background section, after the officers administered knee

strikes to the plaintiff, he stopped resisting, and the officers were able to complete their

custodial search and place the plaintiff in the backseat of the squad car. However, the

officers claim that, as soon as they placed the plaintiff on the backseat, he leaned to the

side and kicked Officer Wallace in the thigh or groin area. The squad car video

corroborates the officers’ claim that the plaintiff kicked one of them. In response to the

kick, the officers removed the plaintiff from the backseat, put him back on the ground, and

restrained him in the wrap. The plaintiff has not disclosed, in accordance with Federal

Rule of Civil Procedure 26(a)(2), any expert testimony by Clark about whether the officers

acted appropriately if, as they say and as the video shows, the plaintiff kicked one of the

officers as they were putting him in the backseat. However, in a brief in response to one

of the defendants’ motions in limine, the plaintiff asserts that Clark will testify that the

officers used excessive force when they reacted to the plaintiff’s kick. (ECF No. 68 at 4–

5.) This testimony is purportedly based on Clark’s having recently watched two videos:

the video of the plaintiff’s kicking the officers and their removing him from the backseat of

the squad car and a video taken from the dash camera of a second squad car. According

to the plaintiff’s brief, Clark will testify that, when he watched the videos, he saw an officer

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place his hands on the plaintiff’s throat, which was “inappropriate” and could have caused

“a suffocation event.” (Id.) Plaintiff’s brief also states that Clark will testify that the dash-

camera video shows “an officer” kneeling on the plaintiff’s back for an extended period of

time. (Id. at 5.) The plaintiff states that Clark will state that “this use of force was excessive

or unnecessary.” (Id.)

       This proposed testimony by Clark is inadmissible for two reasons. First, the plaintiff

has not properly disclosed it as required by Rule 26(a)(2) and Civil Local Rule 26(b).

Because Clark is a retained expert witness, Rule 26(a)(2) required the plaintiff to provide

a report that included, among other things, a complete statement of his opinions and the

facts or data he considered when forming them. See Fed. R. Civ. P. 26(a)(2)(B). Under

the scheduling order for this case, Clark’s report was due on December 16, 2020. (ECF

No. 13, ¶ 3.) The plaintiff’s statement in his brief in opposition to the defendants’ motion

in limine describing Clark’s new opinions was not made until March 21, 2022. Moreover,

the plaintiff’s statement in his brief is not a proper report under Rule 26(a)(2), as it was

not “prepared and signed by the witness.” Thus, to this day, the plaintiff has not properly

disclosed any testimony by Clark about the officers’ placing hands on the plaintiff’s throat

or kneeling on his back. 9




9 The plaintiff filed an affidavit from Clark dated March 11, 2022, in which Clark states that

he has viewed the two videos in question and believes that they reinforce the opinions he
disclosed in his original report. (ECF No. 65.) However, in the affidavit, Clark does not
aver that he holds the two new opinions that the plaintiff attributes to him in the brief: that
the officers improperly put hands on the plaintiff’s throat and kneeled on his back. Thus,
the March 2022 affidavit does not qualify as a report disclosing these two opinions under
Rule 26(a)(2).
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       Under Federal Rule of Civil Procedure 37(c)(1), failing to properly disclose expert

testimony results in the testimony being inadmissible at trial unless the proponent of the

testimony shows that the failure to disclose was substantially justified or is harmless.

Here, the plaintiff has not attempted to show that his failure to properly disclose Clark’s

testimony about placing hands on his throat and kneeling on his back was substantially

justified or is harmless. Moreover, the defendants have shown that this failure to disclose

was neither substantially justified nor harmless. (ECF No. 76 at 3–4.) The plaintiff has

had access to the squad videos since before Clark was deposed on June 14, 2021, so

there is no reason why his testimony about the videos could not have been disclosed well

before March 21, 2022. Further, this last-minute disclosure is not harmless because

discovery is closed and the defendants cannot now depose Clark or the plaintiff about

these new opinions or have their own expert review and opine about Clark’s testimony.

       The second reason why the statements that the plaintiff attributes to Clark in his

brief are inadmissible is because they do not satisfy Rules 403 and 702. In neither opinion

does the plaintiff identify any applicable national policing standard or specialized police

knowledge. In the first opinion, the plaintiff states that placing hands on a person’s throat

may cause suffocation. This fact is obviously well within the common knowledge of lay

jurors, and so expert testimony would be unhelpful. The plaintiff also states that placing

hands on a person’s throat is “inappropriate,” but this is not further explained. To the

extent that this is simply a statement that the force used was excessive, it is inadmissible

under Rule 403 as a pure legal opinion. To the extent that this is a statement that the

officer acted contrary to national policing standards, it is inadmissible under Rule 702

because no such standard is identified and thus the opinion is unhelpful and not the

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product of sufficient facts or data or reliable principles and methods. In the second

opinion, the plaintiff states that kneeling on the plaintiff’s back was “excessive and

unnecessary.” Again, to the extent that this is a statement that the force used was

excessive, it is inadmissible under Rule 403 as a pure legal opinion, and to the extent that

it is a statement that the officer acted contrary to national policing standards, it is

inadmissible because no such standards are identified or applied. Thus, Clark will not be

permitted to testify about the officers’ placing their hands on the plaintiff’s throat or

kneeling on his back.10

                                     III. CONCLUSION

       For the reasons stated, IT IS ORDERED that the defendants’ motion to exclude

the testimony of Roger Clark (ECF No. 56) is GRANTED IN PART and DENIED IN PART.

The motion is denied to the extent that Clark will be permitted to testify about whether the

officers acted consistently with national policing standards when they delivered knee

strikes to the plaintiff. The motion is granted as to all other testimony.

       IT IS FURTHER ORDERED that the defendants’ second motion in limine (ECF

No. 43) is GRANTED.



10 The parties addressed Clark’s opinions about placing hands on the plaintiff’s throat and

kneeling on his back in their briefs filed in connection with the defendants’ third motion in
limine, in which the defendants seek to exclude testimony that the Franklin Police
Department endorsed dangerous or “out of policy” tactics. (ECF No. 46.) Clark does not
offer any opinions about the Franklin Police Department’s polices, and the plaintiff has
not otherwise pointed to evidence in the record about the department’s policies. In any
event, because the plaintiff has not brought a § 1983 claim against the City of Franklin,
any evidence about its policies or practices would be irrelevant. See Thompson, 472 F.3d
at 454–55 (holding that evidence about police-department regulations is “completely
immaterial” to the question of whether an individual officer used excessive force). Thus,
the defendant’s third motion in limine will be granted.
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      IT IS FURTHER ORDERED that the plaintiff’s motion to exclude expert testimony

from Stephen P. Harlow about the wrap (ECF No. 54) is GRANTED.

      FINALLY, IT IS ORDERED that defendants’ third motion in limine (ECF No. 43) is

GRANTED.

      Dated at Milwaukee, Wisconsin, this 20th day of April, 2022.



                                               s/Lynn Adelman________________
                                               LYNN ADELMAN
                                               United States District Judge




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